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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


PHILIP STRODTMAN                                       )
                                                       )
Plaintiff,                                             )
                                                       )
v.                                                     ) Civil Action No. 4:14-CV-02090
                                                       )
MNET FINANCIAL, INC.                                   )
                                                       )
                                                       )
Defendant.                                             )
                                                       )
Serve at:                                              )
CSC-Lawyers Incorporating Service                      )
Company                                                )
221 Bolivar Street                                     )       JURY TRIAL DEMANDED
Jefferson City, Missouri 65101                         )

                                           COMPLAINT

        COMES NOW, Plaintiff, and for his Complaint states as follows:

                                         INTRODUCTION

        1.     This is an action for statutory damages brought by an individual consumer

for violations of the Fair Debt Collections Practices Act, 15 USC 1692 et. Seq.

(“FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive, and

unfair practices.

                                         JURISDICTION

        2.     This Court has jurisdiction of the FDCPA claim under 15 USC 1692k (d)

and that the deceptive fraudulent and unfair business practices alleged herein against

Plaintiff occurred in this judicial district.

                                                PARTIES

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       3.     Plaintiff is a natural person currently residing in Madison County, Illinois.

Plaintiff is a “consumer” within the meaning of the FDCPA and the Illinois Consumer

Fraud and Deceptive Business Practices Act. The alleged debt Plaintiff owes arises out

of consumer, family, and household transactions.

       4.     Defendant is a foreign corporation with its principal place of business

located in Columbus, Ohio.          The principal business purpose of Defendant is the

collection of debts in Missouri and nationwide, and Defendant regularly attempts to

collect debts alleged to be due another.

       5.     Defendant is engaged in the collection of debts from consumers using the

mail and telephone. Defendant is a “debt collector” as defined by the FDCPA. 15 USC

1692a (6).

                                              FACTS

       6.     On or about November 21, 2014, Plaintiff received a dunning letter from

Defendant attempting to collect a debt owed to South County Outpatient Endoscopy

Services in the amount of $453.00.

       7.     The letter further stated that Plaintiff had until December 31, 2014 to

accept a settlement amount of $294.45.

       8.     The debt at issue was included on Schedule F of Plaintiff’s Chapter 7

Bankruptcy Plan. The Plaintiff filed for Bankruptcy protection on August 6, 2014.

       9.     The creditor, South County Outpatient Endoscopy Services, received

notice of Plaintiff’s bankruptcy.

       10.    The U.S. Bankruptcy Court issued an Order granting discharge of

Plaintiff’s debts on November 4, 2014.

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       11.       Defendant has no legal authority to continue collection activity once a

consumer has filed for bankruptcy protection.

       12.       Defendant has attempted to collect a debt in violation of the U.S.

Bankruptcy Court’s automatic stay.

            COUNT I- VIOLATIONS OF FAIR DEBT COLLECTION PRACTICES ACT

       13.       Plaintiff re-alleges and incorporates by reference all of the above

paragraphs.

       14.       In its attempts to collect the alleged debt from Plaintiff, Defendant has

committed violations of the FDCPA, 15 USC 1692 et. seq., including, but not limited to,

the following:

       a.        Taking legal action that it could not legally take by trying to collect a debt

enrolled in bankruptcy protection. 15 U.S.C. § 1692e(5);

       b.        Engaging in conduct the natural consequence of which was to harass,

oppress or abuse Plaintiff. 15 U.S.C. § 1692d.

       c.        Using false, deceptive, or misleading representation or means in

connection with the debt collection. 15 U.S.C. § 1692e and e(10).



       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for:

       A.        Declaratory judgment that Defendant’s conduct violated the FDCPA;

       B.        Actual damages;

       C.        Release of the alleged debt;



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   D.    Statutory damages, costs and reasonable attorney’s fees pursuant to 15

   USC 1692(k); and

   E.    For such other relief as the Court may deem just and proper.



                                   THE EASON LAW FIRM, LLC


                                   s/ James W. Eason
                                   ______________________________
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